     Case 1:09-bk-11235          Doc 1-1 Filed 03/10/09 Entered 03/10/09 07:27:42                             Desc
                                Exhibit A - SEC Statement Page 1 of 2
Form 1015-2                                                                                     Case No. 09-_______


                                UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF OHIO
                                        WESTERN DIVISION

 In re:                                                   Chapter 11
 MILACRON INC.,
 a Delaware corporation,                                  Case No. 09-_____________(___)

                    Debtor.

 4165 Half Acre Road                                      Honorable ________________________
 Batavia, OH 45103
 Employer Tax I.D. No. XX-XXXXXXX


                                EXHIBIT A TO VOLUNTARY PETITION

                   1.      If any of Debtor's securities are registered under section 12 of the Securities

and Exchange Act of 1934, the SEC file number is: 001-08485.

                   2.      The following financial data is the latest available information and refers to

Debtor's condition on 12/31/081.


a.         Total Assets:            $ 523,300,000

b.         Total Liabilities:       $ 752,000,000
                                                                                            Approximate
                                                                                            number of holders
c.         Debt securities held by more than 500 holders:
           secured / /    unsecured / / subordinated / /                 $                           $

d.         Number of shares of preferred stock: 500,000 shares of Series B Preferred Stock2
                                                6,000 shares of 4% Cumulative Preferred Stock

e.         Number of shares of common stock: 6,033,2573




       1
       The assets and liabilities as of 12/31/08 are stated before the effect of goodwill impairment testing which is
not yet complete as of this filing.
     2
       Based upon most recent filings with the Securities and Exchange Commission.
     3
       Based upon most recent filings with the Securities and Exchange Commission.
     Case 1:09-bk-11235      Doc 1-1 Filed 03/10/09 Entered 03/10/09 07:27:42                  Desc
                            Exhibit A - SEC Statement Page 2 of 2
Form 1015-2                                                                     Case No. 09-_______


3.       Brief description of Debtor's business: Debtor is a leading global provider of: (1)

equipment, supplies, services and complete end-to-end solutions to the plastics processing

industries; and (2) premium industrial fluids to the metalworking industries. Debtor operates,

directly and through non-debtor subsidiaries, in four business segments: (1) machinery

technologies-North America; (2) machinery technologies-Europe; (3) mold technologies; and (4)

industrial fluids.

4.       The name of any person (as defined in 11 U.S.C. §101(41)) who directly or indirectly

owns, controls, or holds, with power to vote, 5% or more of the voting securities of Debtor:


                            Shah Capital Management
                            Ohio Plastics, L.L.C.
                            MSD Capital L.P./SOF Investments L.P.
                            Ore Hill Hub Fund Ltd.


                                                      MILACRON INC.

                                               By:    /s/ David E. Lawrence
                                                      David E. Lawrence
                                                      President and Chief Executive Officer




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